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     Attorneys for Plaintiff
 7   ALVARO OROSCO
 8
                                UNITED STATES DISTRICT COURT
 9
                               CENTRAL DISTRICT OF CALIFORNIA
10
11   ALVARO OROSCO,                                  Case No.: 2:23-cv-08148-PA (PVCx)
12
                  Plaintiff,                         NOTICE OF VOLUNTARY
13                                                   DISMISSAL OF ENTIRE ACTION
           vs.                                       WITHOUT PREJUDICE
14
15   IHAB R. GHANNAM D/B/A SB
     TOBACCO; STEVEN JAMES
16   SHERWIN, AS TRUSTEE OF THE
17   STEVEN J. SHERWIN SEPERATE
     PROPERTY TRUST; and DOES 1 to 10,
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                  Defendants.
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21
           PLEASE TAKE NOTICE that ALVARO OROSCO (“Plaintiff”) pursuant to
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     Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
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     action without prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
24
     provides in relevant part:
25
           (a) Voluntary Dismissal.
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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
     Case 2:23-cv-08148-PA-PVC Document 20 Filed 01/12/24 Page 2 of 2 Page ID #:76




 1               (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
 2                      and any applicable federal statute, the plaintiff may dismiss an action
 3                      without a court order by filing:
 4                      (i)   A notice of dismissal before the opposing party serves either an
 5                            answer or a motion for summary judgment.
 6
     None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 7
     summary judgment. Accordingly, this matter may be dismissed without an Order of the
 8
     Court.
 9
10
     DATED: January 12, 2024                      SO. CAL. EQUAL ACCESS GROUP
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13                                         By:       /s/ Jason J. Kim
14                                               Jason J. Kim, Esq.
                                                 Attorneys for Plaintiff
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        NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION WITHOUT PREJUDICE
